        Case 1:15-cv-07433-LAP Document 1200-5 Filed 01/27/21 Page 1 of 6




                                                                                    GIUFFRE007590
                                                                                    Confidential
02/11/2015                           Page 2302           Public Records Request No.: 16-268
        Case 1:15-cv-07433-LAP Document 1200-5 Filed 01/27/21 Page 2 of 6




                                                                                       GIUFFRE007590
                                                                                       Confidential

02/11/2015                           Page 2303           Public Records Request No.: 16-268
     Case 1:15-cv-07433-LAP Document 1200-5 Filed 01/27/21 Page 3 of 6




                                                                         GIUFFRE007590
                                                                         Confidential
02                                Page 2304
        Case 1:15-cv-07433-LAP Document 1200-5 Filed 01/27/21 Page 4 of 6




                                                                                     GIUFFRE007590
                                                                                     Confidential

02/11/2015                           Page 2305           Public Records Request No.: 16-268
        Case 1:15-cv-07433-LAP Document 1200-5 Filed 01/27/21 Page 5 of 6




                                                                                  GIUFFRE007590
                                                                                  Confidential

02/11/2015                           Page 2306           Public Records Request No.: 16-268
        Case 1:15-cv-07433-LAP Document 1200-5 Filed 01/27/21 Page 6 of 6




                                                                                      GIUFFRE007590
                                                                                      Confidential

02/11/2015                           Page 2307           Public Records Request No.: 16-268
